Case 2:23-cv-21705-KSH-LDW            Document 32        Filed 12/05/24      Page 1 of 1 PageID: 106




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


    KATHLEEN PIETROCOLA,                              Civil Action No.

                    Plaintiff,                        23-21705 (KSH) (LDW)

    v.
                                                      AMENDED SCHEDULING ORDER
    CHELSEA SENIOR LIVING, LLC, et
    al.,

                    Defendants.


         THIS MATTER having come before the Court by way of plaintiff’s letter of December

  3, 2024, requesting an extension of fact discovery in light of certain scheduling conflicts (ECF 31);

  and defendants having joined in plaintiff’s request; and for good cause shown,

         IT IS, on this 5th day of December 2024, ORDERED that the pretrial schedule is hereby

  amended as follows:

     1. Fact discovery is extended through February 17, 2025. No fact discovery shall be issued

         or engaged in beyond that date, except upon application and for good cause shown.

     2. The parties shall appear for a telephonic status conference before the undersigned on

         February 4, 2025 at 4:00 p.m. The parties shall submit concise status letters to the Court

         no later than one week in advance of the conference. Dial-in information for the conference

         is (973) 437-5535, access code 334643848#.

                                                  s/ Leda Dunn Wettre
                                                 Hon. Leda Dunn Wettre
                                                 United States Magistrate Judge
